                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

CAREDX, INC.,                             )
                                          )
                     Plaintiff,           )
                                          )
               v.                         ) C.A. No. 19-662 (CFC) (CJB)
                                          )
NATERA, INC.,                             )
                                          )
                     Defendant.           )


                     STIPULATION TO EXTEND TIME
         TO SUBMIT PROPOSED INJUNCTION AND FINAL JUDGMENT

        WHEREAS, the parties seek additional time to meet and confer to attempt to

arrive at a stipulated form of judgment pursuant to D.I. 375 and injunction pursuant

to D.I. 376;

        IT IS HEREBY STIPULATED AND AGREED, subject to the Court’s

approval, that the deadlines for the parties to submit via email (1) a proposed

Judgment and (2) a proposed stipulated injunction or, in the absence of agreement,

Word versions of each party’s proposed injunctions, are extended to August 4,

2023.
FARNAN LLP                             MORRIS, NICHOLS, ARSHT & TUNNELL LLP

/s/ Michael J. Farnan                  /s/ Jack B. Blumenfeld

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                                       Attorneys for Defendant Natera, Inc.

July 28, 2023




             SO ORDERED this ______ day of _____________, 2023.



                                ______________________________________
                                CHIEF, UNITED STATES DISTRICT JUDGE




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